       Case 3:20-cr-00104-SMR-SBJ Document 63 Filed 04/18/22 Page 1 of 2




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA,                            )
                                                     )      NO. 3:20-cr-00104-SMR-SBJ
               Plaintiff,                            )
                                                     )      ORDER ACCEPTING
 vs.                                                 )      MAGISTRATE JUDGE’S REPORT
                                                     )      AND RECOMMENDATION
                                                     )      REGARDING DEFENDANT’S
ANTONIO LASHAWN WARFIELD,                            )      GUILTY PLEA
                                                     )
               Defendant.                            )

                            I. INTRODUCTION AND BACKGROUND

       On October 8, 2020, an Indictment was returned against Defendant Antonio Lashawn

Warfield, charging him in Count 1 with felon in possession of a firearm, in violation of Title 18,

United States Code, Sections 922(g)(1) and 924(a)(2).

       On March 29, 2022, Defendant appeared before United States Magistrate Judge Stephen

B. Jackson, Jr. and entered a plea of guilty to Count 1 of the Indictment. On this same date, Judge

Jackson filed a Report and Recommendation in which he recommends that Defendant’s guilty plea

be accepted; and he further determines the United States of America had established the requisite

nexus between the offense and the property it seeks in forfeiture. No objections to Judge Jackson’s

Report and Recommendation were filed. The Court, therefore, undertakes the necessary review

of Judge Jackson’s recommendation to accept Defendant’s plea in this case.

                                         I. ANALYSIS

       Pursuant to statute, this Court’s standard of review for a magistrate judge’s Report and

Recommendation is as follows:

       A judge of the court shall make a de novo determination of those portions of the
       report or specified proposed findings or recommendations to which objection is
       made. A judge of the court may accept, reject, or modify, in whole or in part, the
       findings or recommendations made by the magistrate judge.
        Case 3:20-cr-00104-SMR-SBJ Document 63 Filed 04/18/22 Page 2 of 2




28 U.S.C. § 636(b)(1). In this case, no objections have been filed, and it appears to the Court upon

review of Judge Jackson’s findings and conclusions, that there is no ground to reject or modify

them.    Therefore, the Court accepts Judge Jackson’s Report and Recommendation of

March 29, 2022 [ECF No. 61], and accepts Defendant’s plea of guilty in this case to Count 1 of

the Indictment.

        IT IS SO ORDERED.

        Dated this 18th day of April, 2022.




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